Case 2:25-cv-00197-JCZ-DPC   Document 10   Filed 02/10/25   Page 1 of 9


                                                                Feb 10 2025



                                                      SP                      EDSS
Case 2:25-cv-00197-JCZ-DPC   Document 10   Filed 02/10/25   Page 2 of 9
Case 2:25-cv-00197-JCZ-DPC   Document 10   Filed 02/10/25   Page 3 of 9
Case 2:25-cv-00197-JCZ-DPC   Document 10   Filed 02/10/25   Page 4 of 9
Case 2:25-cv-00197-JCZ-DPC   Document 10   Filed 02/10/25   Page 5 of 9
Case 2:25-cv-00197-JCZ-DPC   Document 10   Filed 02/10/25   Page 6 of 9
Case 2:25-cv-00197-JCZ-DPC   Document 10   Filed 02/10/25   Page 7 of 9
Case 2:25-cv-00197-JCZ-DPC   Document 10   Filed 02/10/25   Page 8 of 9
           Case 2:25-cv-00197-JCZ-DPC                 Document 10         Filed 02/10/25        Page 9 of 9


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A new EDSS Filing has been submitted. The filing was submitted on Monday, February 10, 2025 - 21:25 from IP Address
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Filer's Full Name: Hiran Rodriguez



Filer's Email Address: hiranrodriguez@outlook.com



Filer's Mailing Address (Street, Apt/Suit No., City, State, Zip): 820 Grove Ave, Metairie, LA, 70003.


FHer.'s Phone Number: 5042038459




Case Number (if known): 2:25-cv-00197-JCZ-DPC


Case Name: Hiran Rodriguez v. Meta Platforms, Inc., et al



Document 1 Description: Motion for Temporary Restraining Order and Preliminary Injunction Against State Court
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